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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


JEREMY EVAN ELLIOTT,                            )
                                                )
                Plaintiff                       )
                                                )
        v.                                      )        1:18-cv-00449-JAW
                                                )
RALPH NORWOOD, et al.,                          )
                                                )
                Defendants                      )


JEREMY EVAN ELLIOTT,                            )
                                                )
                Plaintiff                       )
                                                )
        v.                                      )        1:18-cv-00450-JAW
                                                )
PENOBSCOT COUNTY JAIL                           )
HEALTH AND MEDICAL DEPT.,                       )
                                                )
                Defendants                      )

                  RECOMMENDED DECISION AFTER REVIEW OF
                COMPLAINTS PURSUANT TO 28 U.S.C. §§ 1915(E), 1915A

        In these two related actions, Plaintiff alleges he was assaulted by corrections officers

while he was incarcerated at the Penobscot County Jail. He also asserts that medical

personnel were deliberately indifferent to his medical needs. On October 24, 2018,

Plaintiff filed a complaint against the officers and the jail administration (18-cv-00449,

ECF No. 1), and a separate complaint against the medical staff at the jail.1 (18-cv-00450,


1
  Although the matters have not been consolidated, because the allegations in each are related and provide
context for each case, I concluded it was more efficient to address Plaintiff’s claims in a consolidated
recommended decision.
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ECF No. 1.)Plaintiff filed applications to proceed in forma pauperis (ECF No. 2), which

applications the Court granted. (ECF No. 4.) In accordance with the in forma pauperis

statute, a preliminary review of Plaintiff’s complaints is appropriate.        28 U.S.C. §

1915(e)(2). Additionally, Plaintiff’s complaints are subject to screening “before docketing,

if feasible or … as soon as practicable after docketing,” because he is “a prisoner seek[ing]

redress from a governmental entity or officer or employee of a governmental entity.” 28

U.S.C. § 1915A(a).

       Following a review of Plaintiff’s complaints, I recommend that unless Plaintiff

amends the complaints to assert facts that would support an actionable claim, the Court

dismiss Plaintiff’s complaints without prejudice.

                                  STANDARD OF REVIEW

       The federal in forma pauperis statute, 28 U.S.C. § 1915, is designed to ensure

meaningful access to the federal courts for those persons unable to pay the costs of bringing

an action. When a party is proceeding in forma pauperis, however, “the court shall dismiss

the case at any time if the court determines,” inter alia, that the action is “frivolous or

malicious” or “fails to state a claim on which relief may be granted” or “seeks monetary

relief against a defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2)(B).

“Dismissals [under § 1915] are often made sua sponte prior to the issuance of process, so

as to spare prospective defendants the inconvenience and expense of answering such

complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaints are subject

to a review under the Prison Litigation Reform Act because Plaintiff currently is

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incarcerated and seeks redress from governmental entities and officers. See 28 U.S.C. §

1915A(a), (c). The § 1915A review requires courts to “identify cognizable claims or

dismiss the complaint, or any portion of the complaint, if the complaint (1) is frivolous,

malicious, or fails to state a claim.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

       Although a pro se plaintiff’s complaint is subject to “less stringent standards than

formal pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), this is

“not to say that pro se plaintiffs are not required to plead basic facts sufficient to state a

claim,” Ferranti v. Moran, 618 F.2d 888, 890 (1st Cir. 1980). To allege a civil action in

federal court, it is not enough for a plaintiff merely to allege that a defendant acted

unlawfully; a plaintiff must affirmatively allege facts that identify the manner by which the

defendant subjected the plaintiff to a harm for which the law affords a remedy. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).




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                                           BACKGROUND2

        Plaintiff alleges he was assaulted on July 26, 2014, while he was incarcerated at the

Penobscot County Jail. (18-cv-00449 ECF No. 1-1, 1-3.) Plaintiff claims the assault

constitutes “excessive force” and “torture” by Corrections Officers Wintle and Norwood,

defendants in 1:18-cv-449-JAW, in violation of the Eighth Amendment prohibition against

cruel and unusual punishment. (18-cv-00449 ECF No. 1-1, 1-3, 1-4.)

        Plaintiff also alleges that a number of other individuals acted with deliberate

indifference to Plaintiff’s constitutional rights. According to Plaintiff, Sergeant John

Nutall, a defendant in 1:18-cv-449-JAW, demonstrated deliberate indifference when he

failed to provide relief from Plaintiff’s assailants and in fact sent Defendants Wintle and

Norwood with Plaintiff to the hospital. (18-cv-00449 ECF No. 1-2.) Plaintiff further

alleges Defendant Nutall otherwise failed to report properly the events and follow jail

protocols for incidents involving bodily injury. (Id.) Lieutenant Golden also allegedly

failed to report properly the events and follow jail protocol for incidents resulting in bodily

injury and failed to provide Plaintiff a safe environment in which to discuss the assault.

(18-cv-00449 ECF No. 1-5.) Plaintiff further alleges that the jail’s medical providers failed

to report properly the events and follow protocol for incidents resulting in bodily injury.

(18-cv-00450 ECF No. 1 at 4.) Plaintiff alleges that on January 2, 2018, after an attorney-

client meeting at Penobscot County Jail, Defendant Norwood threatened Plaintiff. (Id. at

2.)


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  The facts are derived from Plaintiff’s complaints and attachments, which factual statements are taken as
true for purposes of reviewing Plaintiff’s complaints.
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                                         DISCUSSION

       The federal civil rights statute, 42 U.S.C. § 1983, permits a plaintiff to file an action

in federal court against any person who has acted under color of state law to deprive the

plaintiff of a federal right. Estades-Negroni v. CPC Hosp. San Juan Capestrano, 412 F.3d

1, 4 (1st Cir. 2005). The defendants identified in Plaintiff’s complaints qualify as state

actors subject to suit under section 1983. The issue is whether Plaintiff has alleged

sufficient facts to state an actionable claim for the deprivation of a federal right.

A.     The Eighth Amendment Claims

       The Eighth Amendment to the United States Constitution, which applies to the states

via the Fourteenth Amendment, prohibits excessive bail, excessive fines, and the infliction

of cruel and unusual punishments. U.S. Const. amend. VIII. A punishment is cruel and

unusual if it involves the unnecessary and wanton infliction of pain. Gregg v. Georgia,

428 U.S. 153, 173 (1976). The question whether a particular use of force “inflicted

unnecessary and wanton pain and suffering ultimately turns on whether force was applied

in a good faith effort to maintain or restore discipline or maliciously and sadistically for

the very purpose of causing harm.” Hudson v. McMillian, 503 U.S. 1, 6 – 7 (1992) (internal

quotations marks omitted).

       Plaintiff has not alleged any facts regarding the circumstances of the alleged assault,

nor has he described in any meaningful way the force that was allegedly used. Instead,

Plaintiff refers to “excessive force,” “torture,” “heinous battery” and “heinous assault”

without any factual context. (Complaint, ECF Nos. 1-3, 1-4, 1-5.) In other words, Plaintiff

has only offered “labels and conclusions” and has not “plead[ ] factual content that allows

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the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). 3 Because Plaintiff has failed to

allege a factual basis for his excessive force claim, he also has not asserted a basis for a

deliberate indifference claim against the defendants he contends failed to respond

appropriately to the alleged use of force.

        Plaintiff’s Eighth Amendment claim against the medical providers is similarly

flawed. The Eighth Amendment imposes on state actors the “substantive obligation” not

to treat prisoners in their care in a manner that reflects “deliberate indifference” toward “a

substantial risk of serious harm to health,” Coscia v. Town of Pembroke, 659 F.3d 37, 39

(1st Cir. 2011), or “serious medical needs,” Feeney v. Corr. Med. Servs., 464 F.3d 158,

161 (1st Cir. 2006) (quoting Estelle v. Gamble, 429 U.S. 97, 105 – 106 (1976)). Plaintiff

has not alleged any facts to support a plausible claim of deliberate indifference against the

providers. For instance, he had not identified the specific medical personnel with whom

he sought treatment, the conditions for which he sought treatment, the treatment, if any,

that was provided, or the treatment he contends should have been, but was not provided.

Rather, Plaintiff has referenced generally the responsibilities of medical personnel in the

jail, the failure of the personnel to serve the best interests of the patients, and the fact

medical personnel stopped providing assistance from social workers. (Complaint at PageID


3
  Plaintiff at times references the Due Process Clause of the Fourteenth Amendment. The Due Process
Clause is sometimes the source of protection against the use of excessive force and against deliberate
indifference to medical needs, including during pretrial detention. See Kingsley v. Hendrickson, 135 S. Ct.
2466, 2475, 192 L. Ed. 2d 416 (2015) (discussing reduced protections for convicted prisoners as compared
to pretrial detainees). Any difference between the protections provided by the Eighth Amendment and the
Due Process Clause, however, are irrelevant at this stage because the complaints’ factual deficits are fatal
to his claims under either provision.
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# 4, 18-cv-00450, ECF No. 1.) The general allegations do not permit a reasonable inference

that any of the defendants is legally liable for the alleged conduct. Iqbal, 556 U.S. at 678.

B.     The First Amendment Claims

       Plaintiff’s allegations regarding a possible First Amendment violation also fail to

state an actionable claim. Among the rights guaranteed by the First Amendment, made

applicable to the states via the Fourteenth amendment, are a person’s “freedom of speech”

and the right to “petition the Government for a redress of grievances.” U.S. Const. amend.

I. Under this protection, government actors may not suppress protected speech through

formal penalties such as arrest or prosecution, or through informal sanctions like “the threat

of invoking legal sanctions and other means of coercion, persuasion, and intimidation . . .

.” Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963); see also, White v. Lee, 227 F.3d

1214, 1228 (9th Cir. 2000); Zieper v. Metzinger, 62 F. App’x 383, 386 (2d Cir. 2003). A

prisoner must show that “inmates of ‘ordinary firmness’ would be deterred” from

exercising or continuing to exercise their rights. See Starr v. Dube, 334 F. App’x 341, 343

(1st Cir. 2009) (quoting Pittman v. Tucker, 213 Fed.App’x. 867, 871-72 (11th Cir.2007)).

       Although Plaintiff asserts that a threat was made following an attorney-client

meeting at the jail, Plaintiff has not alleged the substance of the threat, nor has he alleged

any facts from which one could reasonably infer that the threat was made in response to

Plaintiff’s assertion of a right protected by the First Amendment. Plaintiff has only offered

a “threadbare recital[ ] of a cause of action . . . supported by mere conclusory statements.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).



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C.     Supervisory Liability

       Because Plaintiff has not adequately alleged an underlying violation of his rights by

any of the corrections officers or medical personnel, Plaintiff has failed to assert an

actionable deliberate indifference claim against the supervisory officers and the jail

administration. See Guadalupe-Baez v. Pesquera, 819 F.3d 509, 514 (1st Cir. 2016)

(describing the first element of such a claim as “one of the supervisor’s subordinates

abridged the plaintiff’s constitutional rights”).

                                        CONCLUSION

       Based on the foregoing analysis, after a review in accordance with 28 U.S.C. §§

1915 and 1915A, I conclude that Plaintiff has not alleged sufficient facts to support a claim

against the named defendants in each action. If Plaintiff believes he can assert additional

facts that would support an actionable claim, within the time for filing objections to this

recommended decision (14 days), Plaintiff may amend his complaints. If Plaintiff does

not, within the time for filing objections to this recommended decision (14 days), amend

his complaints to assert an actionable claim against any of the defendants, I recommend

the Court dismiss Plaintiff’s complaints without prejudice.

                                          NOTICE

              A party may file objections to those specified portions of a magistrate
       judge’s report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum, within fourteen
       (14) days of being served with a copy thereof. A responsive memorandum
       and any request shall be filed within fourteen (14) days after the filing of the
       objection.



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           Failure to file a timely objection shall constitute a waiver of the right
    to de novo review by the district court and to appeal the district court’s order.

                                                /s/ John C. Nivison
                                                U.S. Magistrate Judge
    Dated this 11th day of February, 2019.




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